                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                    CASE NO. 3:22-CR-133-MOC-DCK-1 *SEALED*

 UNITED STATES OF AMERICA,                                  )
                                                            )
                 Plaintiff,                                 )
                                                            )
    v.                                                      )   ORDER
                                                            )
 GREGORY ALAN KIRK,                                         )
                                                            )
                 Defendant.                                 )
                                                            )

         THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To Unseal

Bill Of Indictment And Arrest Warrant” (Document No. 5) filed May 27, 2022. This motion has

been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will grant the motion.

         By the instant motion, the United States seeks an Order directing that the Bill of Indictment

and the Arrest Warrant in this case be unsealed because the need to protect the secrecy of the

investigation no longer exists. (Document No. 5).

         IT IS, THEREFORE, ORDERED that the Government’s “Motion To Unseal Bill Of

Indictment And Arrest Warrant” (Document No. 5) is GRANTED. The Bill of Indictment and

the Arrest Warrant shall be UNSEALED.

         IT IS FURTHER ORDERED that the Clerk shall certify copies of this Order to the

United States Attorney’s Office (via email to Steven.Kaufman@usdoj.gov).

         SO ORDERED.                 Signed: May 31, 2022




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